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 8                        UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10                                WESTERN DIVISION
11
     KEITH BERMAN,                           )   Case No.: 2:19-cv-07079 JPR
12                                           )
                  Plaintiff,                 )   ORDER AWARDING EQUAL
13
           vs.                               )   ACCESS TO JUSTICE ACT
14   ANDREW SAUL, Commissioner of            )   ATTORNEY FEES PURSUANT TO
     Social Security,                        )   28 U.S.C. § 2412(d)
15                                           )
16                Defendant                  )
                                             )
17
18
19         Based upon the parties’ Stipulation for the Award and Payment of Equal
20   Access to Justice Act Fees, Costs, and Expenses:
21         IT IS ORDERED that the Commissioner shall pay the amount of $8,500.00

22   (Eight Thousand Five Hundred Dollars and No Cents) for fees, as authorized by 28

23   U.S.C. § 2412(d), subject to the terms of the above-referenced Stipulation.

24
     DATE: 4/23/2021                 ___________________________________
25                                   JEAN ROSENBLUTH
                                     UNITED STATES MAGISTRATE JUDGE
26

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